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   1     UNITED STATES DISTRICT COURT                                                                                       1     together sometimes as "Bloomberry," you'll
         SOUTHERN DISTRICT OF NEW YORK                                                                                      2     understand me?
   2
                                                                                                                            3               A.       Yes.
         - - - - - - - - - - - - - - - - - - x
   3                                         :                                                                              4               Q.       So was GGP represented by counsel in
         GLOBAL GAMING PHILIPPINES, LLC,     :                                                                              5     connection with negotiating the MSA?
   4                                         :
                  Plaintiff,                 :                                                                              6               A.       Yes.
   5                                         :                                                                              7               Q.       Counsel in the U.S.?
              v.                             : Case No.
                                                                                                                            8               A.       Yes.
   6                                         : 21 Cv. 2655
         ENRIQUE K. RAZON, JR.;              : (LGS)(SN)                                                                    9               Q.       And counsel in the Philippines?
   7     BLOOMBERRY RESORTS AND HOTELS INC.; :                                                                            10                A.       Yes.
         SURESTE PROPERTIES INC.;            :
                                                                                                                          11                Q.       Which counsel in the U.S.?
   8                                         :
                  Defendants.                :                                                                            12                A.       A combination of internal Cantor counsel
   9                                         :                                                                            13      and Paul Hastings.
         - - - - - - - - - - - - - - - - - - x
                                                                                                                          14                Q.       And which counsel in the Philippines?
 10
 11              **HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY**                                                           15                A.       Puno & Puno.
 12
                                                                                                                          16                Q.       Did GGP conduct any due diligence
 13                                 VIDEOTAPED DEPOSITION OF
 14                                                                                                                       17      regarding Bloomberry or Mr. Razon before entering
                                    BINYOMIN AVROHOM KAPLAN
 15                                       MAY 19, 2022                                                                    18      into the MSA?
 16
                                                                                                                          19                A.       "Bloomberry" means Sureste and BRHI?
 17                 VIDEOTAPED DEPOSITION OF BINYOMIN AVROHOM
 18      KAPLAN, produced as a witness at the instance of the                                                             20                Q.       We can start with that.
 19      Plaintiff, and duly sworn remotely, was taken in the                                                             21                A.       Okay.       Because I don't think BRC was in
 20      above-styled and numbered cause on MAY 19, 2022, at the
                                                                                                                          22      existence at the time before the MSA.                                   But, yes,
 21      offices of Milbank LLP, 55 Hudson Yards, New York, New
 22      York, from 9:44 a.m. to 4:46 p.m., before Bridget                                                                23      we did do due -- due diligence.
 23      Lombardozzi, CSR, RMR, CRR, and Notary Public of the                                                             24                Q.       Describe the due diligence.
 24      State of New York, pursuant to the Federal Rules of
                                                                                                                          25                A.       I think it's documents that you've seen.
 25      Civil Procedure and the provisions stated on the record.

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   1     it does look the same.                                                                                             1               A.       Yes, what's reflected in here.
   2               Q.       Okay.       Apart from what's reflected in                                                      2               Q.       And apart from what may be reflected
   3     this Exhibit 2010 and apart from what may be                                                                       3     here, you're not aware of any other due diligence
   4     reflected in the Spectrum Group's report, did GGP                                                                  4     that GGP conducted into the financial condition of
   5     conduct any other due diligence into BRHI and SPI                                                                  5     BRHI and SPI, is that correct?
   6     before GGP entered into the MSA?                                                                                   6               A.       Correct.
   7                                        MR. AINSWORTH:               Objection.                                         7               Q.       Prior to entering into the MSA, did GGP
   8                        Assumes facts not in evidence.                                                                  8     conduct any due diligence into the level of
   9               A.       Not to my knowledge.                                                                            9     capitalization of BRHI or SPI?
 10                Q.       All right.           So what was the -- did --                                                10                A.       Is that different than what you just
 11      let me withdraw that.                                                                                            11      asked me?            Yes.      This diligence.
 12                         All right.           Before it entered into the                                               12                Q.       Referring to Exhibit 20 --
 13      MSA, did GGP conduct any due diligence or                                                                        13                A.       Yes, Exhibit 2010.
 14      investigation into the assets of BRHI and SPI?                                                                   14                Q.       And you're not aware of any other such
 15                A.       I think that's in here.                                                                       15      due diligence apart from what's reflected in
 16                Q.       When you say "in here," are you                                                               16      Exhibit 2010, correct?
 17      referring to this Exhibit 2010?                                                                                  17                A.       And the other report I mentioned.
 18                A.       That you just gave me, yes.                                                                   18                Q.       Is it your understanding that the other
 19                Q.       Okay.       Do you have any knowledge of any                                                  19      report you mentioned deals with the level of
 20      such due diligence apart from what may be                                                                        20      capitalization of BRHI or SPI?
 21      reflected in Exhibit 2010?                                                                                       21                A.       No.
 22                A.       No.                                                                                           22                Q.       Now, if I were to ask about due
 23                Q.       Prior to entering into the MSA, did GGP                                                       23      diligence into the solvency of BRHI or SPI, would
 24      conduct any due diligence into the financial                                                                     24      you give me the same answer, that it's reflected
 25      condition of BRHI or SPI?                                                                                        25      in Exhibit 2010 and you're not aware of any other


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   1               A.       I don't recall seeing anything like that                                                        1               Q.       So, Mr. Kaplan, to the extent that there
   2     in the MSA.                                                                                                        2     were such discussions, please describe them.
   3               Q.       Did GGP have any discussions about                                                              3                                         MR. AINSWORTH:               Objection.
   4     whether Mr. Razon should be a party to the MSA?                                                                    4                        Give me a second.                  Let me read the...
   5               A.       No.                                                                                             5                                         Again, it's beyond the scope
   6               Q.       Did GGP have any discussions about                                                              6                        of the deposition topic.
   7     whether Mr. Razon should be a party to the equity                                                                  7                                         And you can answer in your
   8     option agreement or the related participation                                                                      8                        individual capacity to the extent you
   9     agreement?                                                                                                         9                        know.
 10                                         MR. AINSWORTH:               Objection.                                       10                A.       Yeah, I want to bifurcate this.                              Any
 11                         Beyond the scope of the deposition                                                            11      discussions that we had internally were
 12                         notice.                                                                                       12      privileged.                We proposed in an initial interaction
 13                                         You can answer in your                                                        13      on the equity option agreement that Mr. Razon
 14                         individual capacity.                                                                          14      guarantee the obligations.
 15                A.       Yes.                                                                                          15                Q.       And what was the reason for that
 16                                         MR. WALFISH:              I just want to                                      16      proposal?
 17                         note for the record that I don't                                                              17                A.       We had no idea who was the grantor at
 18                         accept Mr. Ainsworth's objections and,                                                        18      the time.
 19                         hopefully, Mr. Ainsworth will be a                                                            19                Q.       And was that proposal ultimately adopted
 20                         little bit more judicious with his                                                            20      in the final version of the agreement?
 21                         objections.                                                                                   21                A.       No.       We received a corporate entity with
 22                                         MR. AINSWORTH:               Hopefully,                                       22      substance and withdrew the request.
 23                         you'll be more judicious with your                                                            23                Q.       At any time before the MSA was signed,
 24                         questions.                                                                                    24      did anybody from the Bloomberry side ever say to
 25      BY MR. WALFISH:                                                                                                  25      anybody on the GGP side, in words or substance,


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   1     that Mr. Razon's personal assets would be                                                                          1               A.       I don't think so.
   2     available to satisfy the debt or obligation of                                                                     2               Q.       At any time before the MSA was signed,
   3     BRHI or SPI?                                                                                                       3     did anybody from the Bloomberry side ever say to
   4               A.       I understand that Mr. Razon spoke of                                                            4     anybody on the GGP side, in words or substance,
   5     contributing more capital to the entity as part of                                                                 5     that there would be recourse to any company or any
   6     the discussions.                                                                                                   6     person other than BRHI or SPI for the obligations
   7               Q.       Apart from that, did anyone from the                                                            7     of BRHI and SPI under the MSA?
   8     Bloomberry side say, in words or substance, that                                                                   8                                         MR. AINSWORTH:               Objection.
   9     if BRHI or SPI had an obligation under the MSA,                                                                    9               A.       I don't think so.
 10      that Mr. Razon's personal assets could be looked                                                                 10                Q.       At any time before the MSA was signed,
 11      to to satisfy that obligation?                                                                                   11      did anybody on the GGP or Cantor side ever say to
 12                A.       I don't think so.                                                                             12      anyone else on that side, in words or substance,
 13                Q.       Before the MSA was signed, did anybody                                                        13      that Mr. Razon's personal assets would be
 14      from the Bloomberry side ever say to anybody on                                                                  14      available to satisfy a debt or obligation of BRHI
 15      the GGP side, in words or substance, that                                                                        15      or SPI?
 16      Mr. Razon was guaranteeing the obligations of BRHI                                                               16                A.       It was not contemplated.
 17      or SPI?                                                                                                          17                Q.       So is the answer to my question, no,
 18                A.       I don't think so.                                                                             18      nobody ever said that?
 19                Q.       Before the MSA was signed, did anybody                                                        19                A.       Correct.
 20      from the Bloomberry side ever say to anybody on                                                                  20                Q.       At any time before the MSA was signed,
 21      the GGP side, in words or substance, that                                                                        21      did anyone on the GGP or Cantor side ever say to
 22      Mr. Razon would be personally liable for any debts                                                               22      anyone else on that side, in words or substance,
 23      or obligations of BRHI or SPI?                                                                                   23      that Mr. Razon was providing a guarantee of the
 24                                         MR. AINSWORTH:               Objection.                                       24      obligations of BRHI and SPI under the MSA?
 25                         Asked and answered.                                                                           25                                          MR. AINSWORTH:               Objection.


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   1                        Asked and answered.                                                                             1                                        Again, to the extent you can
   2               A.       I don't think so.                                                                               2                        answer without disclosing
   3               Q.       At any time before the MSA was signed,                                                          3                        attorney-client communications, you
   4     did anyone on the GGP or Cantor side ever say to                                                                   4                        can.
   5     anyone else on that side, in words or substance,                                                                   5               A.       I'm not aware.
   6     that Mr. Razon would be personally liable for any                                                                  6               Q.       Meaning you're not aware that anyone
   7     debts or obligations of BRHI or SPI?                                                                               7     said that, right?
   8                                        MR. AINSWORTH:               Objection.                                         8               A.       Correct.
   9                        Hold on.                                                                                        9               Q.       Prior to entering into the MSA, did GGP
 10                                         You can answer to the extent                                                  10      conduct any due diligence or investigation into
 11                         it doesn't disclose attorney-client                                                           11      whether any arbitration award or judgment against
 12                         communications.                                                                               12      BRHI or SPI would be enforceable in the
 13                A.       I'm not sure what the difference is                                                           13      Philippines?
 14      between this question and the one before, but                                                                    14                                         MR. AINSWORTH:               Objection.
 15      ultimately the answer is I -- I'm not aware.                                                                     15                                         Again, to the -- to the
 16                Q.       You're not aware that anybody ever said                                                       16                         extent you can answer without
 17      that, correct?                                                                                                   17                         disclosing attorney-client
 18                A.       Correct.                                                                                      18                         communications, you can answer.
 19                Q.       At any time before the MSA was signed,                                                        19                A.       It was not contemplated.
 20      did anyone on the GGP or Cantor side ever say to                                                                 20                Q.       You're aware that there's an arbitration
 21      anyone else on that side, in words or substance,                                                                 21      clause in the MSA?
 22      that there would be recourse to any company or any                                                               22                A.       I am.
 23      person other than BRHI or SPI for the obligations                                                                23                Q.       You're aware that the way arbitration
 24      of BRHI and SPI under the MSA?                                                                                   24      works is a tribunal is convened and eventually
 25                                         MR. AINSWORTH:               Objection.                                       25      renders an award presumably in favor of one party


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   1                        instruction.             Same objection.                                                        1     think that we have seen continued thwarting of the
   2               A.       I have disclosed the discussions that                                                           2     sale of the option shares with the renewed
   3     I'm aware of.                                                                                                      3     injunction and bond and it creates complex
   4               Q.       And how about the basis for the                                                                 4     questions about the process.
   5     allegation?                                                                                                        5               Q.       You're also aware, though, that the
   6                                        MR. AINSWORTH:               Objection.                                         6     courts of the Philippines have said that to get
   7               Q.       Anything else?                                                                                  7     that injunction lifted, GGP needs to get the
   8                                        MR. AINSWORTH:               Objection.                                         8     arbitral awards recognized and enforced.                                     You know
   9                        Same instruction.                 Same obj -- same                                              9     that, right?
 10                         objection.           Same instruction.                                                        10                                         MR. AINSWORTH:               Objection.
 11                A.       I don't know whether there's anything                                                         11                         Calls for a legal conclusion.
 12      else.                                                                                                            12                                         To the extent you can answer
 13                Q.       All right.           Let's turn to something                                                  13                         without disclosing attorney-client
 14      else.                                                                                                            14                         communications, you may.
 15                         You're aware that GGP has not filed a                                                         15                A.       I understand the injunction has not been
 16      proceeding to recognize and enforce the final                                                                    16      released.
 17      arbitral award in the Philippines, right?                                                                        17                Q.       Well, but are you aware one way or the
 18                A.       Yes.                                                                                          18      other about whether the courts of the Philippines
 19                Q.       Why has GGP not done so?                                                                      19      have said that to get the injunction lifted, GGP
 20                                         MR. AINSWORTH:               Objection.                                       20      needs to have the arbitral awards recognized and
 21                                         To the extent you can answer                                                  21      enforced?
 22                         without disclosing attorney-client                                                            22                                         MR. AINSWORTH:               Objection.
 23                         communications, work product, you may                                                         23                         Calls for a legal conclusion.
 24                         do so.                                                                                        24                                         To the extent you can answer
 25                A.       Leaving aside privileged discussions, I                                                       25                         without disclosing attorney-client


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